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                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                      EUGENE DIVISION

SLEP-TONE ENTERTAINMENT                                             Case No.: 6:13-cv-02016-TC
CORPORATION

Plaintiff,                                             PLAINTIFF’ MOTION TO STRIKE
                                                       APPEARANCE BY GRILLHOUSE, INC.
v.

GRILLHOUSE, INC., an Oregon Corporation,
d/b/a HAPPY HOURS, and MICHELLE C.
LESH and MATHEW S. LESH, individuals,

        Defendants.


                                      LR 7-1 CONFERRAL

        Plaintiff has been unable to confer with defendants on this motion. Plaintiff has made

multiple attempts to reach defendant Grillhouse, Inc. though it’s agents Michelle C. Lesh and

Mathew S. Lesh both by telephone leaving voicemails, by email and by letter. No party has

responded to any letters, email or voicemails. Despite a specific letter dispatched to the

defendants noting the improper appearance of Grillhouse, Inc., and citing to Rowland v.

California Men's Colony, 506 U.S. 194, 202 (1993), defendants continue to refuse to respond.

                                            MOTION

        Plaintiff moves to strike the pro se appearance of Grillhouse, Inc., Document No. 9, filed




MOTION TO STRIKE APPEARANCE OF GRILLHOUSE, INC.                                                  1
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on December 9, 2013 as a corporation may not appear without counsel. Rowland v. California

Men's Colony, 506 U.S. 194, 202 (1993).

       Plaintiff does not oppose granting defendant Grillhouse, Inc. thirty days to obtain counsel

and appear.



   DATED February 19, 2014.



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MOTION TO STRIKE APPEARANCE OF GRILLHOUSE, INC.                                                  2
